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 6

 7                            UNITED STATES DISTRICT COURT
 8                         SOUTHERN DISTRICT OF CALIFORNIA
 9
10   JOSPEH SALAMONE                                CASE NO. '24CV1500 LL              VET
                                                    Civil Rights
11          Plaintiff,
                                                    COMPLAINT FOR PRELIMINARY
12                                                  AND PERMANENT INJUNCTIVE
                                                    RELIEF AND DAMAGES:
13          v.
                                                    1. Violations of Americans with
14                                                        Disabilities Act of 1990 (42 U.S.C. §
                                                          12101 et seq.)
15
     EAST VILLAGE TAVERN &                          2. Violation of the California Unruh Act
16   BOWL LLC,                                            (Cal. Civil Code §§ 51 and 52)
17                                                  3. Violation of the California Disabled
            Defendant.                                    Persons Act (Cal. Civil Code § 54 et
18                                                        seq.)
19
                                                    DEMAND FOR JURY TRIAL
20

21
           Plaintiff JOSPEH SALAMONE complains of Defendant EAST VILLAGE
22
     TAVERN & BOWL LLC, and alleges as follows:
23
           1.     INTRODUCTION: On or about June 4, 2024, Plaintiff called
24
     Defendant to reserve a bowling lane at the Tavern & Bowl located at 930 Market
25
     Street, San Diego, California, which is owned and operated by Defendant. While
26
     Plaintiff was reserving the lane, he alerted Defendant that he would be accompanied
27
     by his service dog during his visit to the Tavern & Bowl. Defendant’s employee
28

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 1   immediately informed Plaintiff that dogs were not allowed inside of Tavern &
 2   Bowl. Plaintiff explained to Defendant’s employee that his dog is a service dog
 3   and therefore is allowed to accompany him inside the bowling alley. The employee
 4   that Plaintiff was speaking with told Plaintiff that he would need to check with the
 5   general manager and asked Plaintiff to hold. When Defendant’s employee returned
 6   to the phone, he confirmed that no dogs, including service dogs, are allowed at the
 7   Tavern & Bowl. Defendant’s employee informed Plaintiff that if he came to the
 8   Tavern & Bowl with his service dog, he would only be able to stay in the patio
 9   area. He stated that Plaintiff would be unable to come inside the bowling alley and
10   would therefore be unable to actually bowl. Defendant’s employee then hung up.
11         2.     In the days that followed, Plaintiff attempted to convince Defendant to
12   follow the law and allow him inside the Tavern & Bowl with his service dog,
13   Cammi, but Defendant refused. On June 4, 2024, Plaintiff’s friend called to reserve
14   a bowling lane and inquire about Defendant’s service dog policy, but he was told
15   the same thing as Plaintiff: No dogs, including service dogs, are allowed inside the
16   Tavern & Bowl.
17         3.     On June 5, 2024, Plaintiff called the Tavern & Bowl twice to confirm
18   Defendant’s service dog policy. Plaintiff spoke with Defendant’s employee who
19   identified himself as “Nate” both times. Plaintiff informed Nate that he would like
20   to come and bowl at the Tavern & Bowl but that he needed to be accompanied by
21   his service dog when he came to the premises. Nate informed Plaintiff that dogs,
22   even service dogs, are not allowed at the Tavern & Bowl. Plaintiff then called back
23   and spoke to Nate again. This time Nate asked Plaintiff to hold while he checked
24   with the general manager regarding whether service dogs were allowed inside the
25   Tavern & Bowl. When Nate returned to the phone, he told Plaintiff that he had
26   confirmed Defendant’s policy with the General Manager, and dogs, including
27   service dogs were only allowed on the patio at the Tavern & Bowl. Plaintiff would
28   not be allowed to bowl at the premises with his service dog.

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 1          4.    On June 6, 2024, Plaintiff again called the Tavern & Bowl to report the
 2   incident and try to convince Defendant to allow him inside. Plaintiff spoke to an
 3   employee who identified herself as “Robyn.” Robyn refused to answer Plaintiff’s
 4   questions, denied the events took place, and refused to identify her role within the
 5   company. Tellingly, however, Robyn did not inform Plaintiff that he would be
 6   allowed inside the Tavern & Bowl with his service dog as is required by State and
 7   federal access law.
 8          5.    Plaintiff, both individually and through counsel, made multiple pre-
 9   litigation attempts to resolve the dispute without the need for a lawsuit. All attempts
10   to resolve the dispute without a lawsuit went unanswered by Defendant. This is his
11   first and only ADA lawsuit.
12          6.    Defendant’s decision to exclude service dogs contravenes the
13   Department of Justice’s technical assistance and guidance on the subject of
14   “Service Animals.” In relevant part, the guidance states:
15      •   A person with a disability cannot be asked to remove his service
16          animal from the premises unless: (1) the dog is out of control and the
17          handler does not take effective action to control it or (2) the dog is not
18          housebroken. When there is a legitimate reason to ask that a service
19          animal be removed, staff must offer the person with the disability the
20          opportunity to obtain goods or services without the animal’s presence.
21          7.    DOJ 2010 “Service Animal” guidance available at
22   https://www.ada.gov/resources/service-animals-2010-requirements/.
23          8.    As a result of Defendant’s illegal acts, Plaintiff suffered denial of his
24   civil rights and suffered physical, mental and emotional damages. Plaintiff enjoys
25   bowling with friends and family who live in the San Diego area, and he intends to
26   return to patronize the Tavern & Bowl but cannot do so until the policies of the
27   bowling alley are made accessible to disabled individuals who use service dogs,
28   including revision of its service dog policies and necessary employee training

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 1   and/or re-training. He has brought this lawsuit to force Defendant to change its
 2   discriminatory and illegal policies, and to force Defendant to compensate him for
 3   refusing to allow him inside the bowling alley because he is a physically disabled
 4   person who needs the assistance of his qualified service dog. Plaintiff seeks an
 5   injunction to protect the rights of all disabled persons, including Plaintiff, when
 6   accompanied by a qualified service dog at the Tavern & Bowl.
 7          9.     JURISDICTION: This Court has jurisdiction of this action pursuant
 8   to 28 USC sections 1331 and 1343. This Court has jurisdiction over the claims
 9   brought under California law pursuant to 28 U.S.C. § 1367.
10          10.    VENUE: Venue is proper in this court pursuant to 28 USC
11   section 1391(b) and is proper because the real property which is the subject of this
12   action is located in this district and that Plaintiff’s causes of action arose in this
13   district.
14          11.    PARTIES: Plaintiff Joseph Salamone is a “qualified” disabled
15   person. He suffers from supraventricular tachycardia (“SVT”) and severe panic
16   disorder. The comorbid conditions can result in elevated heart rate, fainting, fear of
17   death, hyperventilation, pacing, and flushing. Plaintiff relies upon his service dog,
18   a Maltese poodle named “Cammi,” to alert him of the onset of symptoms and to
19   alert him to take medication to alleviate those symptoms. At the onset of
20   symptoms, Cammi approaches Plaintiff and paws at him in order to alert him that
21   he needs to calm down. If Plaintiff is unable to calm himself quickly, Cammi is
22   trained to alert him to take medication by going to where the medication is kept or
23   pawing at the pocket in Plaintiff’s back where the medication is kept and letting out
24   a bark. Plaintiff personally trained Cammi to assist him with the task she performs.
25   Plaintiff is a qualified person with a disability as defined under federal and state
26   law. 42 U.S.C. § 12102, 29 U.S.C. § 705(9)(B), and California Government Code
27   § 12926(1).
28          12.    Defendant EAST VILLAGE TAVERN & BOWL LLC, is and was at

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 1   all times relevant to this Complaint the owner, operator, lessor and/or lessee of the
 2   subject business, property and building located at 930 Market Street, San Diego,
 3   California known as the Tavern & Bowl.
 4         13.    The Tavern & Bowl is a place of “public accommodation” and a
 5   “business establishment” subject to the requirements inter alia of multiple
 6   categories of 42 U.S.C. section 12181(7) of the Americans with Disabilities Act of
 7   1990, of California Civil Code sections 51 et seq., and of California Civil Code
 8   sections 54 et seq.
 9         14.    FACTUAL STATEMENT: Plaintiff Joseph Salamone has been
10   working with his service dog Cammi for five years. Cammi is an eight-year-old
11   Maltese poodle who was individually trained by Plaintiff to be a service dog.
12   Plaintiff has also continued to train Cammi to serve his specific needs throughout
13   their relationship through a series of commands and gestures. Cammi is
14   specifically trained to alert Plaintiff of the onset of symptoms of SVT or a panic
15   attack and to alert Plaintiff to take medication to alleviate those symptoms.
16         15.    Cammi is a working dog; she is not a pet. Plaintiff and Cammi have
17   trained extensively together, and they supplement that training daily. Plaintiff takes
18   Cammi everywhere with him in public unless he has already taken his medication
19   that day. Plaintiff takes his medication as needed, and once he has taken it, he no
20   longer needs Cammi to remind him to take the medication. If Plaintiff has not
21   taken his medication, it is important he and Cammi stay together at all times
22   because (a) Cammi provides important services for Plaintiff; (b) Cammi is a
23   medical alert dog who is able to alert Plaintiff of potentially life-threatening
24   medical conditions so that he can take medication and seek immediate medical
25   treatment if necessary; and (c) it is part of the training and bonding requirement that
26   they be together constantly to maintain their bond. With few exceptions, where
27   Plaintiff goes, Cammi goes.
28         16.     Plaintiff lives in Long Beach, but he has friends in family in the San

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 1   Diego area. Plaintiff visits the San Diego area multiple times a year to visit his
 2   friends and family. Plaintiff made one such trip to San Diego at the beginning of
 3   June 2024. While he was visiting his cousins and friends, the group decided that it
 4   would be fun to go bowling. Plaintiff loves bowling. In fact, when he was
 5   younger, he used to be on a bowling team, so he was very excited about the
 6   prospect of a day of bowling with his family and friends.
 7         17.    Plaintiff searched nearby bowling alleys online, and he found the
 8   Tavern & Bowl. On or about June 4, 2024, Plaintiff called Defendant to reserve a
 9   bowling lane. While Plaintiff was reserving the lane, he alerted Defendant that he
10   would be accompanied by his service dog during his visit to the Tavern & Bowl.
11   Defendant’s employee, immediately informed Plaintiff that dogs were not allowed
12   inside of Tavern & Bowl. Plaintiff explained to Defendant’s employee that his dog
13   is a service dog and therefore is allowed to accompany him inside the bowling
14   alley. The employee that Plaintiff was speaking with told Plaintiff that he would
15   need to check with the general manager and asked Plaintiff to hold. When
16   Defendant’s employee returned to the phone, he confirmed that no dogs, including
17   service dogs, are allowed at the Tavern & Bowl. Defendant’s employee informed
18   Plaintiff that if he came to the Tavern & Bowl with his service dog, he would only
19   be able to stay in the patio area. He stated that Plaintiff would be unable to come
20   inside the bowling alley and would therefore be unable to actually bowl.
21   Defendant’s employee then hung up.
22         18.    In the days that followed, Plaintiff attempted to convince Defendant to
23   follow the law and allow him inside the Tavern & Bowl with his service dog,
24   Cammi, but Defendant refused. On June 4, 2024, Plaintiff’s friend called to reserve
25   a bowling lane and inquire about Defendant’s service dog policy, but he was told
26   the same thing as Plaintiff: No dogs, including service dogs, are allowed inside the
27   Tavern & Bowl.
28         19.    On June 5, 2024, Plaintiff called the Tavern & Bowl twice to confirm

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 1   Defendant’s service dog policy. Plaintiff spoke with Defendant’s employee who
 2   identified himself as “Nate” both times. During his first conversation on June 5th,
 3   Plaintiff informed Nate that he would like to come and bowl at the Tavern & Bowl
 4   but that he needed to be accompanied by his service dog when he came to the
 5   premises. Nate informed Plaintiff that dogs, even service dogs, are not allowed at
 6   the Tavern & Bowl.
 7         20.    Plaintiff then called back and spoke to Nate again. This time Nate
 8   asked Plaintiff to hold while he checked with the general manager regarding
 9   whether service dogs were allowed inside the Tavern & Bowl. When Nate returned
10   to the phone, he told Plaintiff that he had confirmed Defendant’s policy with the
11   General Manager, and dogs, including service dogs were only allowed on the patio
12   at the Tavern & Bowl. Plaintiff would not be allowed to bowl at the premises with
13   his service dog.
14         21.    On June 6, 2024, Plaintiff again called the Tavern & Bowl to report the
15   incident and try to convince Defendant to allow him inside. Plaintiff spoke to an
16   employee who identified herself as “Robyn.” Robyn refused to answer Plaintiff’s
17   questions, denied the events took place, and refused to identify her role within the
18   company. Tellingly, however, Robyn did not inform Plaintiff that he would be
19   allowed inside the Tavern & Bowl with his service dog as required by State and
20   federal access law.
21         22.    Ultimately, it was clear to Plaintiff that he would not be allowed to eat
22   and bowl inside the Tavern & Bowl, so he decided not to make a reservation.
23   Plaintiff was disappointed that he was not able to go bowling with his family.
24         23.    Plaintiff wishes to return to the Tavern & Bowl, but only after
25   Defendant’s have implemented proper service animal policies and training of its
26   staff. Plaintiff is deterred from returning to the Tavern & Bowl until these policies
27   and training are in place.
28   //
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 1                    FIRST CAUSE OF ACTION:
      VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 2                      (42 USC §§ 12101 et seq.)
 3         24.     Plaintiff repleads and incorporates by reference, as if fully set forth
 4   again herein, the factual allegations contained in Paragraphs 1 through 23, above,
 5   and incorporates them herein by reference as if separately repled hereafter.
 6         25.    In 1990 Congress passed the Americans with Disabilities Act after
 7   finding that laws were needed to more fully protect “some 43 million Americans
 8   with one or more physical or mental disabilities; that historically society has tended
 9   to isolate and segregate individuals with disabilities;” that “such forms of
10   discrimination against individuals with disabilities continue to be a serious and
11   pervasive social problem”; that “the Nation’s proper goals regarding individuals
12   with disabilities are to assure equality of opportunity, full participation, independent
13   living and economic self-sufficiency for such individuals”; and that “the continuing
14   existence of unfair and unnecessary discrimination and prejudice denies people
15   with disabilities the opportunity to compete on an equal basis and to pursue those
16   opportunities for which our free society is justifiably famous.” 42 U.S.C. §
17   12101(a).
18         26.    The ADA provides, “No individual shall be discriminated against on
19   the basis of disability in the full and equal enjoyment of the goods, services,
20   facilities, privileges, advantages, or accommodations of any place of public
21   accommodation by any person who owns, leases, or leases to, or operates a place of
22   public accommodation.” 42 USC § 12182.
23         27.    Plaintiff Salamone is a qualified individual with a disability as defined
24   in the Rehabilitation Act and in the Americans with Disabilities Act of 1990.
25         28.     The Tavern & Bowl is a public accommodation within the meaning of
26   Title III of the ADA. 42 U.S.C. § 12181(7)(B) and (L).
27         29.    The ADA prohibits, among other types of discrimination, “failure to
28   make reasonable modifications in policies, practices or procedures when such

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 1   modifications are necessary to afford such goods, services, facilities, privileges,
 2   advantages or accommodations to individuals with disabilities.” 42 U.S.C. §
 3   12182(b)(2)(A)(ii).
 4          30.   Under the “2010 Revised ADA Requirements: Service Animals,” as
 5   published by the United States Department of Justice, and distributed by the DOJ’s
 6   Civil Rights Division, Disability Rights Section, “Generally, title II and title III
 7   entities must permit service animals to accompany people with disabilities in all
 8   areas where members of the public are allowed to go.” ADA 2010 Revised
 9   Requirements, www.ada.gov/service -animals-2010.htm Further,
10          Under the ADA, State and local governments, businesses, and
            nonprofit organizations that serve the public generally must allow
11          service animals to accompany people with disabilities in all areas of
            the facility where the public is normally allowed to go.
12

13   Ibid., emphasis in original.
14          31.   Defendant has a policy and practice of denying guests who use service
15   dogs access to the Tavern & Bowl. This is contrary to the ADA. The Department
16   of Justice issued guidance on the subject of “Service Animals.” In relevant part, the
17   guidance states:
18      •   A person with a disability cannot be asked to remove his service
19          animal from the premises unless: (1) the dog is out of control and the
20          handler does not take effective action to control it or (2) the dog is not
21          housebroken. When there is a legitimate reason to ask that a service
22          animal be removed, staff must offer the person with the disability the
23          opportunity to obtain goods or services without the animal’s presence.
24   DOJ 2010 “Service Animal” guidance available at
25   https://www.ada.gov/resources/service-animals-2010-requirements/.
26          32.   On information and belief, as of the date of Plaintiff’s most recent
27   attempt to visit to Tavern & Bowl on or about June 4th and June 5th, 2024,
28   Defendant continues to deny full and equal access to Plaintiff and to discriminate

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 1   against Plaintiff on the basis of Plaintiff’s disabilities, thus wrongfully denying to
 2   Plaintiff the full and equal enjoyment of the goods, services, facilities, privileges,
 3   advantages and accommodations of Defendant’s premises, in violation of the ADA.
 4         33.    In passing the Americans with Disabilities Act of 1990 (hereinafter
 5   “ADA”), Congress stated as its purpose:
 6                It is the purpose of this Act
 7         (1) to provide a clear and comprehensive national mandate for the
           elimination of discrimination against individuals with disabilities;
 8
           (2) to provide clear, strong, consistent, enforceable standards addressing
 9         discrimination against individuals with disabilities;
10         (3) to ensure that the Federal Government plays a central role in enforcing
           the standards established in this Act on behalf of individuals with disabilities;
11         and
12         (4) to invoke the sweep of congressional authority, including the power to
           enforce the fourteenth amendment and to regulate commerce, in order to
13         address the major areas of discrimination faced day-to-day by people with
           disabilities.
14

15   42 USC § 12101(b).
16         34.    As part of the ADA, Congress passed “Title III - Public
17   Accommodations and Services Operated by Private Entities” (42 USC § 12181 et
18   seq.). The subject property and facility are one of the “private entities” which are
19   considered “public accommodations” for purposes of this title, which includes any
20   “restaurant, bar, or other establishment serving food or drink” (42 USC §
21   12181(7)(B)) and any “bowling alley” (42 USC § 12181(7)(L)).
22         35.    The ADA states that “No individual shall be discriminated against on
23   the basis of disability in the full and equal enjoyment of the goods, services,
24   facilities, privileges, advantages, or accommodations of any place of public
25   accommodation by any person who owns, leases, or leases to, or operates a place of
26   public accommodation.” 42 U.S.C. § 12182. The specific prohibitions against
27   discrimination include, but are not limited to the following:
28   § 12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It shall be discriminatory

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 1   to afford an individual or class of individuals, on the basis of a disability or
 2   disabilities of such individual or class, directly, or through contractual, licensing, or
 3   other arrangements, with the opportunity to participate in or benefit from a good,
 4   service, facility, privilege, advantage, or accommodation that is not equal to that
 5   afforded to other individuals.”
 6   § 12182(b)(2)(A)(ii): “a failure to make reasonable modifications in policies,
 7   practices, or procedures when such modifications are necessary to afford such
 8   goods, services, facilities, privileges, advantages, or accommodations to individuals
 9   with disabilities...;”
10   § 12182(b)(2)(A)(iii): “a failure to take such steps as may be necessary to ensure
11   that no individual with a disability is excluded, denied service, segregated, or
12   otherwise treated differently than other individuals because of the absence of
13   auxiliary aids and services...;”
14   § 12182(b)(2)(A)(iv): “a failure to remove architectural barriers, and
15   communication barriers that are structural in nature, in existing facilities... where
16   such removal is readily achievable;”
17   § 12182(b)(2)(A)(v): “where an entity can demonstrate that the removal of a barrier
18   under clause (iv) is not readily achievable, a failure to make such goods, services,
19   facilities, privileges, advantages, or accommodations available through alternative
20   methods if such methods are readily achievable.”
21          The acts and omissions of Defendant set forth herein were in violation of
22   Plaintiff’s rights under the ADA and the regulations promulgated thereunder, 28
23   C.F.R. Part 36 et seq.
24          36.    The removal of each of the policy barriers complained of by Plaintiff
25   as hereinabove alleged, were at all times herein mentioned “readily achievable”
26   under the standards of sections 12181 and 12182 of the ADA. As noted
27   hereinabove, removal of each and every one of the policy barriers complained of
28   herein were already required under California law. In the event that removal of any

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 1   barrier is found to be “not readily achievable,” Defendant still violated the ADA,
 2   per section 12182(b)(2)(A)(v) by failing to provide all goods, services, privileges,
 3   advantages and accommodations through alternative methods that were “readily
 4   achievable.”
 5         37.      On information and belief, as of the dates of Plaintiff’s encounters at
 6   the premises and as of the filing of this Complaint, Defendant’s actions, policies,
 7   and physical premises have denied and continue to deny full and equal access to
 8   Plaintiff and to other disabled persons who work with service dogs, which violates
 9   Plaintiff’s right to full and equal access and which discriminates against Plaintiff
10   Spector on the basis of his disabilities, thus wrongfully denying to Plaintiff the full
11   and equal enjoyment of the goods, services, facilities, privileges, advantages and
12   accommodations, in violation of 42 U.S.C. sections 12182 and 12183 of the ADA.
13         38.      Defendant’s actions continue to deny Plaintiff’s rights to full and equal
14   access by deterring Plaintiff from patronizing the Tavern & Bowl and discriminated
15   and continue to discriminate against Plaintiff on the basis of his disabilities, thus
16   wrongfully denying to Plaintiff the full and equal enjoyment of Defendant’s goods,
17   services, facilities, privileges, advantages and accommodations, in violation of
18   section 12182 of the ADA. 42 U.S.C. § 12182.
19         39.      Pursuant to the Americans with Disabilities Act, 42 U.S.C. sections
20   12188 et seq., Plaintiff is entitled to the remedies and procedures set forth in
21   section 204(a) of the Civil Rights Act of 1964, 42 USC 2000(a)-3(a), as Plaintiff is
22   being subjected to discrimination on the basis of his disabilities in violation of
23   sections 12182 and 12183. On information and belief, Defendant has continued to
24   violate the law and deny the rights of Plaintiff and other disabled persons to “full
25   and equal” access to this public accommodation since on or before Plaintiff’s
26   encounters. Pursuant to section 12188(a)(2)
27         [i]n cases of violations of § 12182(b)(2)(A)(iv) and § 12183(a)...
           injunctive relief shall include an order to alter facilities to make such
28         facilities readily accessible to and usable by individuals with disabilities
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 1         to the extent required by this title. Where appropriate, injunctive relief
           shall also include requiring the provision of an auxiliary aid or service,
 2         modification of a policy, or provision of alternative methods, to the
           extent required by this title.
 3

 4         40.    Plaintiff seeks relief pursuant to remedies set forth in section 204(a) of
 5   the Civil Rights Act of 1964 (42 USC 2000(a)-3(a)), and pursuant to Federal
 6   Regulations adopted to implement the Americans with Disabilities Act of 1990.
 7   Plaintiff is a qualified disabled person for purposes of § 12188(a) of the ADA who
 8   is being subjected to discrimination on the basis of disability in violation of Title III
 9   and who has reasonable grounds for believing he will be subjected to such
10   discrimination each time that he may use the property and premises, or attempt to
11   patronize the Tavern & Bowl, in light of Defendant’s policies barriers.
12         WHEREFORE, Plaintiff prays for relief as hereinafter stated.
13                        SECOND CAUSE OF ACTION:
             VIOLATION OF CALIFORNIA LAW INCLUDING: THE UNRUH
14          ACT, CIVIL CODE SECTIONS 51 AND 52, AND THE AMERICANS
                   WITH DISABILITIES ACT AS INCORPORATED
15                        BY CIVIL CODE SECTION 51(f)
16         41.    Plaintiff re-pleads and incorporates by reference, as if fully set forth
17   again herein, the allegations contained in Paragraphs 1 through 40 of this
18   Complaint and incorporates them herein as if separately re-pleaded.
19         42.    At all times relevant to this action, the Unruh Civil Rights Act,
20   California Civil Code § 51(b), provided that:
21         All persons within the jurisdiction of this state are free and equal, and
           no matter what their sex, race, color, religion, ancestry, national origin,
22         disability, or medical condition are entitled to the full and equal
           accommodations, advantages, facilities, privileges, or services in all
23         business establishments of every kind whatsoever.
24
           43.    California Civil Code section 52 provides that the discrimination by
25
     Defendant against Plaintiff on the basis of disability constitutes a violation of the
26
     general anti-discrimination provisions of sections 51 and 52.
27
           44.    Each of Defendant’s discriminatory acts or omissions constitutes a
28

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 1   separate and distinct violation of California Civil Code section 52, which provides
 2   that:
 3           Whoever denies, aids or incites a denial, or makes any discrimination
             or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
 4           every offense for the actual damages, and any amount that may be
             determined by a jury, or a court sitting without a jury, up to a maximum
 5           of three times the amount of actual damage but in no case less than four
             thousand dollars ($4,000), and any attorney’s fees that may be
 6           determined by the court in addition thereto, suffered by any person
             denied the rights provided in Section 51, 51.5, or 51.6.
 7
             45.   Any violation of the Americans with Disabilities Act of 1990
 8
     constitutes a violation of California Civil Code section 51(f), thus independently
 9
     justifying an award of damages and injunctive relief pursuant to California law,
10
     including Civil Code section 52. Per Civil Code section 51(f), “A violation of the
11
     right of any individual under the Americans with Disabilities Act of 1990 (Public
12
     Law 101-336) shall also constitute a violation of this section.”
13
             46.   The actions and omissions of Defendant as herein alleged constitute a
14
     denial of access to and use of the described public facilities by disabled persons
15
     who use service dogs within the meaning of California Civil Code sections 51 and
16
     52. As a proximate result of Defendant’s action and omissions, Defendant has
17
     discriminated against Plaintiff in violation of Civil Code sections 51 and 52, and are
18
     responsible for statutory and compensatory to Plaintiff, according to proof.
19
             47.   FEES AND COSTS: As a result of Defendant’s acts, omissions and
20
     conduct, Plaintiff has been required to incur attorney fees, litigation expenses and
21
     costs as provided by statute in order to enforce Plaintiff’s rights and to enforce
22
     provisions of law protecting access for disabled persons and prohibiting
23
     discrimination against disabled persons. Plaintiff therefore seeks recovery of all
24
     reasonable attorney fees, litigation expenses and costs pursuant to the provisions of
25
     California Civil Code sections 51 and 52. Additionally, Plaintiff’s lawsuit is
26
     intended to require that Defendant make its facilities and policies accessible to all
27
     disabled members of the public, justifying “public interest” attorney fees, litigation
28

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 1   expenses and costs pursuant to the provisions of California Code of Civil Procedure
 2   section 1021.5 and other applicable law.
 3          48.    Plaintiff suffered damages as above-described as a result of
 4   Defendant’s violations.
 5          WHEREFORE, Plaintiff prays for relief as hereinafter stated.
 6                         THIRD CAUSE OF ACTION:
                         DAMAGES AND INJUNCTIVE RELIEF
 7                FOR DENIAL OF FULL AND EQUAL ACCESS TO PUBLIC
                      FACILITIES IN A PUBLIC ACCOMMODATION
 8                              (Civil Code §§ 54 et seq.)
 9          49.    Plaintiff re-pleads and incorporates by reference, as if fully set forth
10   hereafter, the factual allegations contained in Paragraphs 1 through 48 of this
11   Complaint and all paragraphs of the third cause of action, as plead infra,
12   incorporates them herein as if separately re-pleaded.
13          50.    Under the California Disabled Persons Act (CDPA), people with
14   disabilities are entitled to the “full and free use of . . . public buildings, . . . public
15   facilities, and other public places.” Civil Code § 54(a).
16          51.    Civil Code section 54.1(a)(1) further guarantees the right of “full and
17   equal access” by persons with to “accommodations, advantages, facilities . . .
18   hotels, lodging places of accommodation, amusement or resort, or other places to
19   which the general public is invited.” Civil Code § 54.1(c) also specifies that,
20   “individuals with a disability and persons authorized to train service dogs for
21   individuals with a disability, may take dogs, for the purpose of training them as
22   guide dogs, signal dogs, or service dogs in any of the places specified in
23   subdivisions (a) and (b).”
24          52.    Civil Code section 54.2(a) specifically protects the right of “every
25   individual with a disability” “to be accompanied by a guide dog, signal dog, or
26   service dog, especially trained for the purpose, in any of the places specified in
27   Section 54.1.”
28

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 1         53.    Civil Code section 54.3(b) makes liable “Any person or persons, firm
 2   or corporation who denies or interferes with admittance to or enjoyment of the
 3   public facilities as specified in Sections 54 and 54.1 or otherwise interferes with the
 4   rights of an individual with a disability under Sections 54, 54.1 and 54.2.” This
 5   section also specifies that, “‘[I]nterfere,’ for purposes of this section, includes, but
 6   is not limited to, preventing or causing the prevention of a guide dog, signal dog, or
 7   service dog from carrying out its functions in assisting a disabled person.”
 8         54.    Defendant is also in violation of California Penal Code section
 9   365.5(b) which states:
10         No blind person, deaf person, or disabled person and his or her specially
           trained guide dog, signal dog, or service dog shall be denied admittance
11         to accommodations, advantages, facilities, medical facilities, including
           hospitals, clinics, and physicians’ offices, telephone facilities, adoption
12         agencies, private schools, hotels, lodging places, places of public
           accommodation, amusement or resort, and other places to which the
13         general public is invited within this state because of that guide dog,
           signal dog, or service dog.
14

15         55.     The Tavern & Bowl is a public accommodation within the meaning of
16   the CDPA. On information and belief, Defendant is the owner, operator, lessor or
17   lessee of the public accommodation.
18         56.     Defendant made the decision to knowingly and willfully exclude
19   Plaintiff and his service dog from its public accommodation and thereby denied
20   Plaintiff his right of entrance into its place of business with his service dog. As a
21   result of that decision Plaintiff has faced the continuing discrimination of being
22   barred from entering this public accommodation and place of business based upon
23   Defendant’s illegal refusal to allow Plaintiff to be accompanied by his service dog,
24   a legally protected right. Plaintiff has continued to suffer denial of access to these
25   facilities, and he faces the prospect of unpleasant and discriminatory treatment
26   should he attempt to return to these facilities. Plaintiff is unable to return to the
27   Tavern & Bowl until he receives the protection of this Court’s injunctive relief, and
28   he has continued to suffer discrimination on a daily basis since June 4, 2024, all to

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 1   his statutory damages pursuant to California Civil Code §§ 54.1, 54.2, and 54.3 and
 2   California Penal Code section 365.5.
 3         57.    INJUNCTIVE RELIEF: Plaintiff seeks injunctive relief to prohibit
 4   the acts and omissions of Defendant as complained of herein which are continuing
 5   on a day-to-day basis and which have the effect of wrongfully excluding Plaintiff
 6   and other members of the public who are disabled and who require the assistance of
 7   service animals from full and equal access to these public facilities. Such acts and
 8   omissions are the cause of humiliation and mental and emotional suffering of
 9   Plaintiff in that these actions continue to treat Plaintiff as an inferior and second-
10   class citizen and serve to discriminate against him on the sole basis that Plaintiff is
11   a person with disabilities who requires the assistance of a service animal.
12         58.    Plaintiff wishes to return to patronize the Tavern & Bowl but is
13   deterred from returning to use these facilities, because the lack of access and the
14   significant policy barriers will foreseeably cause him further difficulty, discomfort
15   and embarrassment, and Plaintiff is unable, so long as such acts and omissions of
16   Defendant continue, to achieve equal access to and use of these public facilities.
17   Therefore, Plaintiff cannot return to patronize the Tavern & Bowl and its facilities
18   and is deterred from further patronage until these facilities are made properly
19   accessible for disabled persons, including Plaintiff and other disabled individuals
20   who require the assistance of a service animal.
21         59.    The acts of Defendant have proximately caused and will continue to
22   cause irreparable injury to Plaintiff if not enjoined by this Court. Plaintiff seeks
23   injunctive relief as to Defendant’s inaccessible policies. As to the Defendant that
24   currently owns, operates, and/or leases (from or to) the subject premises, Plaintiff
25   seeks preliminary and permanent injunctive relief to enjoin and eliminate the
26   discriminatory practices that deny full and equal access for disabled persons and
27   those associated with them, and seeks an award of reasonable statutory attorney
28   fees, litigation expenses and costs.

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 1         60.    Wherefore Plaintiff asks this Court to preliminarily and permanently
 2   enjoin any continuing refusal by Defendant to grant full and equal access to
 3   Plaintiff in the ways complained of and to require Defendant to comply forthwith
 4   with the applicable statutory requirements relating to access for disabled persons.
 5   Such injunctive relief is provided by California Civil Code sections 54.1, 54.2 and
 6   55, and other laws. Plaintiff further requests that the Court award damages
 7   pursuant to Civil Code section 54.3 and other law and attorney fees, litigation
 8   expenses, and costs pursuant to Civil Code sections 54.3 and 55, Code of Civil
 9   Procedure section 1021.5 and other law, all as hereinafter prayed for.
10         61.    DAMAGES: As a result of the denial of full and equal access to the
11   described facilities and due to the acts and omissions of Defendant in owning,
12   operating, leasing, constructing, altering, and/or maintaining the subject facilities,
13   Plaintiff has suffered a violation of his civil rights, including but not limited to
14   rights under Civil Code sections 54 and 54.1, and has suffered difficulty,
15   discomfort and embarrassment, and physical, mental and emotional personal
16   injuries, all to his damages per Civil Code section 54.3, including general and
17   statutory damages, as hereinafter stated. Defendant’s actions and omissions to act
18   constitute discrimination against Plaintiff on the basis that he was and is disabled
19   and unable, because of the policy barriers created and/or maintained by the
20   Defendant in violation of the subject laws, to use the public facilities on a full and
21   equal basis as other persons. The violations have deterred Plaintiff from returning
22   to attempt to patronize the Tavern & Bowl and will continue to cause him damages
23   each day these barriers to access and policy barriers continue to be present.
24         62.    Although it is not necessary for Plaintiff to prove wrongful intent in
25   order to show a violation of California Civil Code sections 54 and 54.1 or of Title
26   III of the ADA (see Donald v. Café Royale, 218 Cal. App. 3d 168 (1990)),
27   Defendant’s behavior was intentional. Defendant was aware and/or was made
28   aware of its duties to refrain from establishing discriminatory policies against

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 1   disabled persons, prior to the filing of this complaint. Defendant’s establishment of
 2   its discriminatory policy to deny and restrict entry to persons with service dogs, and
 3   its implementation of such a discriminatory policy against Plaintiff, indicate actual
 4   and implied malice toward Plaintiff and conscious disregard for Plaintiff’s rights
 5   and safety.
 6         63.     FEES AND COSTS: As a result of Defendant’s acts, omissions, and
 7   conduct, Plaintiff has been required to incur attorney fees, litigation expenses, and
 8   costs as provided by statute, in order to enforce Plaintiff’s rights and to enforce
 9   provisions of the law protecting access for disabled persons and prohibiting
10   discrimination against disabled persons. Plaintiff therefore seeks recovery of all
11   reasonable attorney fees, litigation expenses, and costs, pursuant to the provisions
12   of Civil Code sections 54.3 and 55. Additionally, Plaintiff’s lawsuit is intended to
13   require that Defendant make its facilities accessible to all disabled members of the
14   public, justifying “public interest” attorney fees, litigation expenses and costs
15   pursuant to the provisions of California Code of Civil Procedure section 1021.5 and
16   other applicable law.
17         64.     Plaintiff suffered damages as above described as a result of
18   Defendant’s violations. Damages are ongoing based on their deterrence from
19   returning to the Tavern & Bowl.
20         WHEREFORE, Plaintiff prays for relief as hereinafter stated.
21                                           PRAYER
22         Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
23   forth in this Complaint. Plaintiff has suffered and will continue to suffer
24   irreparable injury as a result of the unlawful acts, omissions, policies, and practices
25   of the Defendant as alleged herein, unless Plaintiff is granted the relief he requests.
26   Plaintiff and Defendant have an actual controversy and opposing legal positions as
27   to Defendant’s violations of the laws of the United States and the State of
28   California. The need for relief is critical because the rights at issue are paramount

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 1   under the laws of the United States and the State of California.
 2         WHEREFORE, Plaintiff Paul Spector prays for judgment and the following
 3   specific relief against Defendant:
 4         1.      An order enjoining Defendant, its agents, officials, employees, and all
 5   persons acting in concert with them:
 6              a. From continuing the unlawful acts, conditions, and practices described
 7                 in this Complaint;
 8              b. To modify its policies and practices to accommodate service dog users
 9                 in conformity with federal and state law, and to advise Plaintiff that his
10                 service dog will not be excluded should he desire to enter and use the
11                 services of the Tavern & Bowl;
12              c. That the Court issue preliminary and permanent injunction directing
13                 Defendant as current owner, operator, lessor, and/or lessee and/or its
14                 agents of the subject property and premises to modify the above
15                 described property, premises, policies and related policies and
16                 practices to provide full and equal access to all persons, including
17                 persons with disabilities; and issue a preliminary and permanent
18                 injunction pursuant to ADA section 12188(a) and state law directing
19                 Defendant to provide facilities usable by Plaintiff and similarly
20                 situated persons with disabilities and which provide full and equal
21                 access, as required by law, and to maintain such accessible facilities
22                 once they are provided and to train Defendant’s employees and agents
23                 in how to recognize disabled persons and accommodate their rights
24                 and needs;
25              d. An order retaining jurisdiction of this case until Defendant has fully
26                 complied with the orders of this Court, and there is a reasonable
27                 assurance that Defendant will continue to comply in the future absent
28                 continuing jurisdiction;

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 1         2.     An award to Plaintiff of statutory, actual, general, and punitive
 2   damages in amounts within the jurisdiction of the Court, all according to proof;
 3         3.     An award of civil penalty as against Defendant under California Penal
 4   Code § 365.5(c);
 5         4.     An award to Plaintiff pursuant to 42 U.S.C. § 12205, 29 U.S.C. § 794a,
 6   California Civil Code §§ 52 and 54.3, California Code of Civil Procedure § 1021.5,
 7   and as otherwise permitted by law, of the costs of this suit and reasonable attorneys’
 8   fees and litigation expenses;
 9         5.     An award of prejudgment interest pursuant to Civil Code § 3291;
10         6.     Interest on monetary awards as permitted by law; and
11         7.     Grant such other and further relief as this Court may deem just and
12   proper.
13   Date: August 23, 2024                              REIN & CLEFTON
14
                                                           /s/ Aaron M. Clefton
15                                                      By AARON M. CLEFTON, Esq.
16                                                      Attorneys for Plaintiff
                                                        JOSEPH SALAMONE
17

18
                                         JURY DEMAND
19
           Plaintiff hereby demands a trial by jury for all claims for which a jury is
20
     permitted.
21
     Date: August 23, 2024                              REIN & CLEFTON
22

23                                                         /s/ Aaron M. Clefton
                                                        By AARON M. CLEFTON, Esq.
24                                                      Attorneys for Plaintiff
25                                                      JOSEPH SALAMONE

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